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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

v.                                          Case No.: 5:20cr28-MW/MJF

MARGO DEAL ANDERSON, et al.,

     Defendants.
__________________________________/

                     ORDER GRANTING EXTENSION

      The Government moves for an order harmonizing its deadlines to respond to

Defendants’ motions to sever. ECF No. 327. Defendants do not oppose the motion.

The motion is GRANTED. The Government may respond to Defendants’ motions

to sever on or before September 12, 2022.

      SO ORDERED on September 6, 2022.

                                    s/Mark E. Walker
                                    Chief United States District Judge
